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                                                                          FILED: May 17, 2019


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

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                                         No. 18-1677
                                  (1:17-cv-00364-LMB-JFA)
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 SHARYL THOMPSON ATTKISSON; JAMES HOWARD ATTKISSON; SARAH
 JUDITH STARR ATTKISSON

              Plaintiffs - Appellants

 v.

 ERIC HIMPTON HOLDER, JR., Individually; PATRICK R. DONAHOE, Individually;
 UNKNOWN NAMED AGENTS OF THE DEPARTMENT OF JUSTICE, In their
 individual capacities; UNKNOWN NAMED AGENTS OF THE UNITED STATES
 POSTAL SERVICE, In their individual capacities; UNKNOWN NAMED AGENTS OF
 THE UNITED STATES, In their individual capacities; VERIZON VIRGINIA LLC;
 FEDERAL BUREAU OF INVESTIGATION; MCI COMMUNICATIONS SERVICES,
 INC., d/b/a Verizon Business Services; CELLCO PARTNERSHIP, d/b/a Verizon Wireless

              Defendants - Appellees

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                                      JUDGMENT
                                    ___________________

        In accordance with the decision of this court, the judgment of the district court is

 affirmed.

        This judgment shall take effect upon issuance of this court's mandate in accordance

 with Fed. R. App. P. 41.

                                             /s/ PATRICIA S. CONNOR, CLERK
